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UNITED STATES DISTRICT COURT
District of Connecticut

#1995472

 

 

 

 

AFFIDAVIT OF SERVICE
Index no : 3:18-CV-00705-VLB

Connecticut Fair Housing Ctr, et al

Plaintiff(s),
VS.

Corelogic Rental Property Solutions, LLC

Defendant(s).

STATE OF CONNECTICUT
ss: East Hartford
HARTFORD COUNTY

Sandra Yade, the undersigned, being duly sworn, deposes and says that I was at the time of service over
the age of eighteen and not a party to this action. I reside in the State of Connecticut.

On 07/03/2018 at 11:30 AM, I served the within Summons in a Civil Action, Complaint, Joint Trial
Memorandum Order for the Hon. Vanessa C. Bryant, Order on Pretrial Deadlines, Notice
Regarding Electronic Filing, Standing Protective Order, Chambers Practices District Judge
Vanessa L. Bryant on Corelogic Rental Property Solutions, LLC at c/o Corporation Service
Company, 50 Weston Street, Hartford, CT 06120 in the manner indicated below:

CORPORATE SERVICE: By delivering a true copy of each to Lisa Maglieri, Legal Assistant of the

above named corporation. The undersigned asked the recipient if he/she is authorized to accept service on
behalf of Corelogic Rental Property Solutions, LLC, and the recipient responded in the affirmative.

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

 

Sex Color of skin/race Color of hair Age Height Weight
Female Caucasian Brown 36 5'4" 190
Other Features: Glasses

Sworn to and subscribed before me on KY

 

 

 

 

 

 

 

 

 

 

 

July 11, 2018 Smndra Mate
by an affiant who is personally known to Connecticut Progess Serving, LLC
me or produced identification. 67 Burnside /

East Hartford, CT 06108
888.528.2920
ae aC: hte, Atty File#:
NOTARYPUBLIC
My Commission Expires: O/S |

 
